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 1                                                                        Honorable John H. Chun
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                                   UNITED STATES DISTRICT COURT
10                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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12   STUART REGES,
13                     Plaintiff,
14         v.
15   ANA MARI CAUCE, in her official capacity         Case No. 2:22-cv-00964-JHC
     as President of the University of Washington;
16   MAGDALENA BALAZINSKA, in her                     REPLY IN SUPPORT OF
     official and individual capacities as Director   DEFENDANTS’ MOTION TO
17   of the Paul G. Allen School of Computer          DISMISS
     Science & Engineering; DANIEL
18   GROSSMAN, in his official and individual         Noted for Hearing: December 23, 2022
     capacities as Vice Director of the Paul G.
19   Allen School of Computer Science &
     Engineering; and NANCY ALLBRITTON, in
20   her official and individual capacities as Dean
     of the College of Engineering,
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                       Defendants.
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 1                                      I.      INTRODUCTION

 2          Reges’s opposition to Defendants’ Motion to Dismiss does not address Defendants’ primary

 3   arguments. Instead, Reges makes conclusory statements and characterizes the facts in a way that

 4   the allegations in the Complaint do not support.

 5          Reges asserts repeatedly that Defendants have “silenced” him and sought to establish a “pall

 6   of orthodoxy,” even though the facts alleged in the Complaint do not support such assertions. The

 7   Complaint does not allege that the Defendants restricted Reges’s ability to fully express his views

 8   about land acknowledgment statements outside of the narrow context of the University-sanctioned

 9   syllabi for his classes. Nor does the Complaint allege that Reges sought accommodations to express
10   those views in other contexts, or that Defendants refused such requests. In short, the Complaint

11   does not support any suggestion that Defendants have “silenced” Reges in any actionable manner.

12   Reges’s opposition addresses none of these points and cannot salvage these deficiencies.

13          Similarly, Reges asserts that a syllabus cannot be government speech, and instead reflects

14   only the professor’s speech. But Reges admits that some aspects of a syllabus are within the

15   purview of the University to set requirements, policies, and guidelines. Reges offers no reason that

16   the University cannot regulate optional statements related to negotiated tribal acknowledgements—

17   particularly where he has not alleged that Defendants have restricted such opinions in other

18   contexts.

19          Reges also fails to grapple with Defendants’ ability, under the Supreme Court’s balancing
20   test, to impose reasonable time, place, manner restrictions even on speech that would be protected

21   for a private citizen; or with the argument that the context of the phrase “unacceptable or

22   inappropriate” when used in Executive Order 31 gives a clear warning of what conduct it addresses,

23   and is not facially overbroad. Instead, Reges again relies on characterizations that cannot salvage

24   his Complaint. As a result, the Complaint should be dismissed.

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 1                                            II.     ARGUMENT

 2             A.     Reges fails to plausibly plead retaliation and viewpoint discrimination.

 3                      1. Reges’s speech is not protected under the First Amendment.

 4             Reges concedes that his speech is protected under the First Amendment only if it qualifies

 5   as “speech related to scholarship or teaching.” See Opp. at 10–11. According to Reges, his land

 6   acknowledgment statement must qualify, because “[a]ny speech contained in a professor’s syllabus

 7   is necessarily speech related to teaching.” Opp. at 11. Not so. Indeed, Reges undermines that

 8   argument just two sentences later, conceding that faculty must follow “certain university policies

 9   … and general guidelines” in drafting their syllabi. Id. A syllabus is simply the procedural outline
10   of a university course. Aside from providing a course overview and listing the class meeting time

11   and location, a syllabus sets forth the policies of a university and its faculty. Id. For example, a

12   university may require faculty to provide students with notice of certain religious or student

13   disability accommodations policies. See id. Similarly, a professor might include her policy on class

14   attendance or plagiarism. Simply put, the syllabus is not a substantive writing or exploration of

15   creative thought. It is certainly not what the Supreme Court had in mind when urging the

16   importance of protecting academic freedom. See, e.g., Garcetti v. Ceballos, 547 U.S. 410, 438

17   (2006).

18             Indeed, a syllabus falls squarely into the facts that the Fourth Circuit held would not qualify

19   as speech related to scholarship or teaching. In Adams v. Trustees of the Univ. of N.C.-
20   Wilmington, 640 F.3d 550, 563 (4th Cir. 2011), the court explained that “[t]here may be instances

21   in which a public university faculty member’s assigned duties include a specific role in declaring

22   or administering university policy, as opposed to scholarship or teaching. In that circumstance,

23   Garcetti may apply to the specific instances of the faculty member’s speech carrying out those

24   duties.” That is precisely the case here. Part of Reges’s duty as a university lecturer is to distribute

25   a course syllabus, and as Reges concedes, faculty must provide on their syllabi “notices regarding

26   certain university policies.” Opp. at 11. The optional land acknowledgement statement was made

27   directly in response to one such university-directed policy. See Compl. ¶¶ 29–31.

28             The only case Reges cites for support, Meriwether v. Hartop, 992 F.3d 492, 506–07 (6th
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 1   Cir. 2021), does not stand for the proposition Reges asserts. Far from holding that syllabi are places

 2   to be used “as a medium for faculty expression” (Opp. at 11–12), Meriwether held that a university

 3   unconstitutionally silences a professor’s viewpoint by forbidding any expression, even in his

 4   syllabus. The dispute in Meriwether centered around a professor’s moral and religious

 5   disagreement with the school’s policy on preferred pronouns. Meriwether, 992 F.3d at 498. After

 6   being directed to “eliminate all sex-based references from his expression” or refer to students only

 7   by their preferred pronouns, the professor requested an accommodation to express his views in

 8   another manner by “plac[ing] a disclaimer in his syllabus noting that he was [using the preferred

 9   pronouns] under compulsion and setting forth his personal and religious beliefs about gender
10   identity.” Id. at 500 (internal quotation marks omitted). The university rejected this

11   accommodation. Id. The court ultimately concluded that the university violated the professor’s First

12   Amendment rights because it wholly forbade him from describing his views on gender identity,

13   whether in the classroom, in the syllabus, or elsewhere. Id. at 506. In other words, the university

14   silenced the professor’s viewpoint. Id.

15          Those are not the facts here. The allegations in the Complaint do not show that Defendants

16   have silenced Reges. Reges does not allege that the University forbade him from expressing his

17   view in other contexts. Reges does not allege that he was prevented, for example, from posting his

18   land acknowledgement statement on the door to his office or in his email signature block. Reges

19   does not allege that he was prevented from discussing his view on land acknowledgement
20   statements in any manner outside the narrow context of his University-sanctioned syllabus. And

21   there are no allegations in the Complaint that Reges sought any type of accommodation or

22   compromise to express his view in another context or that Defendants refused such a compromise.

23   On the contrary, the University assured Reges that he was “welcome to voice [his] opinion and

24   opposition to land acknowledgements … in other settings.” Mot., Ex. 1.

25          Reges’s attempts to distinguish Alozie and Abcarian (Opp. at 12) also fail. First, Demers—

26   not Alozie—cautioned that not all academic speech qualifies as speech “related to scholarship or

27   teaching” under Garcetti. Mot. at 8 (citing Demers, 746 F.3d at 415). Alozie simply applied that

28   rule, explaining that “Demers clearly established an exception to Garcetti for academic speech, but
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 1   did not clearly establish what constituted academic speech.” Alozie v. Arizona Bd. of Regents, 431

 2   F. Supp. 3d 1100, 1119 (D. Ariz. 2020). The court then explained, consistent with Demers, that if

 3   the speech at issue was made “pursuant to [] official duties but did not constitute ‘teaching and

 4   academic writing,’ the Garcetti test applies and [the] speech [i]s not protected.” Second, Reges

 5   dismisses Abcarian as being “pre-Demers,” but that is irrelevant. Defendants rely on Abcarian to

 6   show that other circuit courts have recognized—consistent with Demers—that Garcetti’s

 7   academic-freedom acknowledgment is not limitless. It is of no matter whether those other circuit

 8   courts addressed the issue before or after Demers.

 9          Reges’s reliance on Shurtleff v. City of Bos., 142 S. Ct. 1583, 1598 (2022), is also misplaced.
10   Opp. at 18. That case addressed whether the city of Boston intended to “communicate governmental

11   messages” through a flagpole outside Boston City Hall, “or instead opened the flagpole to citizens

12   to express their own views.” Shurtleff, 142 S. Ct. at 1587. The speech at issue was thus outside the

13   government employee context in which this case arises. The Court here need not wade into

14   Shurtleff’s “holistic inquiry” to determine whether the speech at issue is government speech. The

15   Supreme Court has held that “when public employees make statements pursuant to their official

16   duties, the employees are not speaking as citizens for First Amendment purposes, and the

17   Constitution does not insulate their communications from employer discipline.” Garcetti v.

18   Ceballos, 547 U.S. 410, 421 (2006). That is the entire premise of the parties’ dispute surrounding

19   whether the syllabus constitutes speech “related to teaching or scholarship” and how to weigh the
20   parties’ competing interests under Pickering. Indeed, Reges acknowledges that this is the

21   applicable standard in the Complaint. See Compl. ¶ 96. Moreover, Defendants do not contend that

22   all faculty speech is government speech.

23          Finally, Reges’s attempt to distinguish Johnson v. Poway Unified Sch. Dist., 658 F.3d 954

24   (9th Cir. 2011), and Downs v. L.A. Unified Sch. Dist., 228 F.3d 1003 (9th Cir. 2000), because they

25   arise in a high school setting, is unavailing. The well-recognized distinction between high school

26   and college speech rights refers to student speech, not faculty speech. Indeed, every case the

27   opposition cites (Opp. at 19-20) involves student speech. Such a distinction makes sense in that

28   context, where students at the high school and university levels have differing degrees of
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 1   independence and oversight. That distinction is not equally applicable to faculty in each setting.

 2   And Defendants rely on Johnson and Downs only as examples of when a government employee

 3   fails to speak as a private citizen. In each case, that answer depended on the time, place, manner,

 4   and context of the speech. That same analysis applies here, as discussed below in connection with

 5   the Pickering balancing test.

 6                     2. Reges cannot satisfy the Pickering balancing test.

 7            Even if Reges’s speech is protected under the First Amendment, his claims still fail because

 8   he cannot satisfy the Pickering balancing test. Defendants do not dispute that First Amendment

 9   retaliation and viewpoint discrimination claims are separate causes of action. No matter which
10   claim Reges asserts, however, he must satisfy the Pickering test. Because Reges cannot do so, he

11   cannot state a plausible claim for relief under the First Amendment.

12            The Pickering balancing test requires a court to weigh “the interest[s] of the State, as an

13   employer, in promoting the efficiency of the public services it performs through its employees”

14   against “the interests of the teacher, as a citizen, in commenting upon matters of public concern.”

15   Pickering v. Bd. of Educ. of Township High Sch. Dist. 205, 391 U.S. 563, 568 (1968). Only when

16   the latter outweighs the former can a First Amendment claim succeed. Reges concedes that this

17   standard applies to First Amendment retaliation claims. See Opp. at 13–14. But he seems to dispute

18   that Pickering applies to First Amendment viewpoint discrimination claims. See id. at 9. Reges is

19   wrong.
20            In Berry v. Dep’t of Social Servs., 447 F.3d 642, 650 (9th Cir. 2006), the Ninth Circuit

21   explained that “the Pickering balancing approach applies regardless of the reason an employee

22   believes his or her speech is constitutionally protected.” Reges insists that “[n]othing in Berry

23   precludes Reges from bringing his standalone claim for viewpoint discrimination.” Opp. at 9. That

24   argument misses the point. Reges may bring separate claims for alleged First Amendment

25   violations, but he still must satisfy the Pickering balancing test for those claims to succeed. When

26   a First Amendment retaliation claim fails under the Pickering test, so too must a viewpoint

27   discrimination claim that is based on the same underlying facts.

28            Indeed, that is precisely the rule explained in Cochran v. City of Atlanta, 289 F.
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 1   Supp. 3d 1276, 1292–93 (N.D. Ga. 2017), which the opposition ignores. Like here, the plaintiff in

 2   Cochran brought claims under the First Amendment for both free-speech retaliation and viewpoint

 3   discrimination premised on the same underlying facts. Id. at 1288. The court found the plaintiff’s

 4   approach “problematic” because “if Plaintiff cannot prove the first two Pickering factors, then the

 5   speech is not protected by the First Amendment and any firing based on that speech would

 6   accordingly be constitutional.” Id. at 1293. The court elaborated that “the Supreme Court has

 7   established the test to evaluate a city’s firing of an employee based on speech—Pickering—and that

 8   test is the most appropriate for any of Plaintiff’s claims based upon his alleged speech-based firing.”

 9   Id. at 1294. The court thus concluded that it “would be incongruent for a city to be allowed to fire
10   an employee because of his unprotected speech, but yet be subject to a viewpoint discrimination

11   claim for that same firing.” Id. After finding that the plaintiff failed to pass the Pickering balancing

12   test for his retaliation claims, therefore, the court granted summary judgment on viewpoint

13   discrimination as well. As Cochran reasoned, a contrary decision—allowing a viewpoint-

14   discrimination claim to stand despite its failing the Pickering balancing test—“would defy not only

15   the Supreme Court’s precedent but also common sense.” Id.

16          Under either Reges’s viewpoint discrimination or retaliation claims, he cannot satisfy the

17   Pickering balancing test. Reges asserts that the balance weighs in his favor because there was no

18   disruption to his class and the University lacks a legitimate interest to warrant limiting his speech.

19   Opp. at 14. The allegations in the Complaint contradict both bases. Moreover, Reges wholly
20   ignores the time, place, and manner in which his speech was made as well as the context in which

21   the parties’ dispute arose, both of which the Supreme Court has ruled relevant to the Pickering

22   balance. See Connick v. Myers, 461 U.S. 138, 152–53 (1983).

23          Throughout the Complaint, Reges acknowledges the disruption his statement caused at the

24   University. Reges admits that students filed multiple complaints and that student-employees

25   claimed that Reges’s actions violated their collective bargaining agreement with the University.

26   See Compl. ¶¶ 40, 60, 63. Reges also pleads that over 30% of his class switched to the alternative

27   section despite the section being offered at the same day and time as Reges’s course. Compl. ¶ 51.

28   Reges also pleads facts highlighting the University’s legitimate interest in ensuring the efficient
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 1   functioning of its classrooms, including by responding to complaints. For example, Reges admits

 2   that the University created an alternative class section only after the University received multiple

 3   student complaints about Reges’s statement and Reges refused to remove it from his syllabus.

 4   Compl. ¶¶ 37, 40, 60, 63. Nor does Reges dispute that the University need not “allow events to

 5   unfold to the extent that the disruption of the [classroom or the school] … [wa]s manifest before

 6   taking action.” Connick, 461 U.S. at 152. Finally, far from casting “a pall of orthodoxy” (Opp.

 7   at 14), the Complaint contains no allegations that, apart from the syllabus, the University ever asked

 8   Reges not to express his view on University grounds. The Complaint does not allege, for example,

 9   that Reges was prohibited from including his statement in his email signature block, posting it on
10   the door to his office, or discussing it in his classes. Reges’s weighing of the parties’ competing

11   interests is thus undermined by the Complaint itself.

12           Reges’s balancing of interests also fails to account for the time, place, and manner of his

13   speech. See Opp. at 14. Reges’s speech was included in a university-sanctioned syllabus distributed

14   in the classroom on the first day of class. Compl. ¶¶ 29, 39. His speech appeared on the University’s

15   class portal, “where students can find syllabi, class materials, and assignments.” Id. The timing of

16   his statement was also no coincidence: it came only after the Allen School suggested—but did not

17   mandate—inclusion of land acknowledgment statements as a “best practice[] for inclusive

18   teaching.” Compl. ¶ 29. This is not a case where the speech was made “out of purely academic

19   interest,” Connick, 461 U.S. at 153, or was included only in “external writings and appearances”
20   separate from the University, Adams v. Trustees of the Univ. of N.C.-Wilmington, 640 F.3d 550,

21   554 (4th Cir. 2011).

22           Also tipping the balance toward the University is the alleged sanction imposed on Reges.

23   There is no allegation that Reges was fired, prevented from teaching, docked pay, or asked to take

24   any type of leave or suspension. See generally Compl. No disciplinary proceeding has been

25   scheduled and no charges have been filed. Id. ¶ 82. The only purported “adverse actions” are the

26   University’s accommodation of an additional class section following multiple student complaints

27   (Compl. ¶¶ 43, 60, 73), and the opening of an investigation to determine whether action is needed

28   (Compl. ¶¶ 57, 61, 67, 70, 72). The University’s interest in the efficient functioning of its school—
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 1   including by responding to student complaints and complying with the school’s faculty Standard

 2   of Conduct—far outweighs Reges’s interest in speaking about land acknowledgement statements

 3   in the classroom on a university-sanctioned document.

 4          B.      Executive Order 31 is not facially overbroad.

 5          The University’s Executive Order 31 is not facially overbroad. Reges does not even try to

 6   construe the Order, instead extracting just two words from it to suggest that the Order could prohibit

 7   all forms of expressive conduct. But before administering the “strong medicine” of invalidating a

 8   law or policy as overbroad—what the Supreme Court calls a “last resort,” Broadrick v. Oklahoma,

 9   413 U.S. 601, 613 (1973)—courts must first “construe the challenged statute,” United States v.
10   Williams, 553 U.S. 285, 293 (2008). Doing so here shows that the Order aims at conduct closely

11   akin to unlawful discrimination, harassment, and retaliation. It does not sweep in substantially more

12   protected speech than unprotected speech. Reges’s claim thus fails.

13          Reges nowhere contests the interpretive principles that apply in construing the Order.

14   Compare Mot. at 19–21, with Opp. at 20–22. The Court, in applying those principles, should read

15   the Order in context rather than read individual words in isolation. See Mot. at 19–21 (collecting

16   authorities). The Order’s bar on “unacceptable or inappropriate” conduct aims to “facilitate [the]

17   goal” of “promoting an environment that is free of discrimination, harassment, and retaliation.”

18   Exec. Order 31 § 1. Both the title and the text of the substantive provision that Reges challenges

19   confirm that context. The Order contains a list of definitions tracking federal employment law. See
20   id. § 4. And it commits the University to interpret the Order “in the context of academic freedom

21   in the University environment.” Id. § 5(A); see Arce v. Douglas, 793 F.3d 968, 985 (9th Cir. 2015)

22   (rejecting overbreadth challenge in part because challenged policy stated that it would not be

23   construed to prohibit instruction on historical oppression and explaining that it would be

24   “inappropriate” to read the challenged statute broadly when it was “readily susceptible” to a

25   narrowing construction). The Order is thus limited to conduct—rarely expressive in any event—

26   closely akin to unlawful harassment, discrimination, and retaliation.

27          Only by wrenching a few words free from this context—apparent on the face of the Order

28   itself—can Reges contend that the Order is overbroad. His Complaint alleges no instance in which
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      Case No. 2:22-cv-00964-JHC                                               Seattle, Washington 98104-7097
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 1   the Order was the basis for prohibiting any of the illustrative conduct his opposition recites—none

 2   of which is alleged to have occurred at the University. See Opp. at 21 & n.2; see also Compl.

 3          Nor do Reges’s cited authorities aid him. All are distinguishable because the challenged

 4   provisions at issue lacked limiting language and context showing that those provisions covered

 5   conduct akin to unlawful or unprotected speech. See, e.g., McCauley v. Univ. of the V.I., 618

 6   F.3d 232, 249–50 (9th Cir. 2010) (invaliding ban on “offensive” signs when the requirement

 7   “lacked any requirement akin to a showing of severity or pervasiveness” and thus contained no

 8   “shelter for core protected speech”); DeJohn v. Temple University, 537 F.3d 301, 317–18 (3d Cir.

 9   2008) (invalidating student-conduct prohibition on “hostile” or “offensive” conduct without a
10   “requirement akin to a showing of severity or pervasiveness”); College Republicans at S.F. State

11   Univ. v. Reed, 523 F. Supp. 2d 1005, 1020 (N.D. Cal. 2007) (observing that “[t]here is no clue or

12   signal in the initial paragraphs or in the substantive proscriptions of the regulation that there might

13   be set forth at the end some clarification of or limitations on the regulation’s mandates”). The Order

14   here, by contrast, is replete with textual and contextual limits on its application.

15          Reges offers no support for the apparent premise of his claim: that public universities lack

16   authority to regulate, investigate, or punish any conduct that is not independently unlawful. And

17   the Ninth Circuit has held otherwise. See Hernandez v. City of Phoenix, 43 F.4th 966, 980 (9th

18   Cir. 2022) (explaining that overbreadth challenges “in the public employment context” turn on a

19   “modified Pickering balancing analysis that closely tracks the test used for First Amendment
20   retaliation claims”).

21          Reges’s overbreadth challenge cannot survive.

22          C.      Executive Order 31 is not unconstitutionally vague.

23          Reges’s claim that Executive Order 31 is unconstitutionally vague fails for similar reasons.

24   The Order, on its face, governs only conduct closely akin to discrimination, harassment, or

25   retaliation. Thus, reasonable members of the University community can know what sort of conduct

26   is “unacceptable” or “inappropriate” under the Order. The authorities Reges cites are

27   distinguishable precisely because the provisions struck down there lacked the context from which

28   reasonable observers could know what conduct was prohibited or any limit on enforcement. Last,
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 1   Reges ignores the case law supporting the motion.

 2          To start, courts have never required “perfect clarity and precise guidance … even of

 3   regulations that restrict expressive activity.” Williams, 553 U.S. at 304 (citation omitted). Indeed,

 4   “we can never expect mathematical certainty from our language.” Grayned v. City of Rockford,

 5   408 U.S. 104, 110 (1972). The vagueness doctrine also applies with less force when the restriction

 6   imposes only civil consequences and when the challenged policy governs public-employee speech.

 7   See Hernandez, 43 F.4th at 982; Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455

 8   U.S. 489, 498–99 (1982). Reges overlooks these principles in his opposition.

 9          Next, unlike in the cases Reges cites, the Order’s language expressly qualifies the references
10   to “inappropriate” and “unacceptable” conduct by tethering them to the specific context of

11   harassment, discrimination, and retaliation, and by requiring the University to interpret the Order

12   in the context of its commitment to academic freedom and by reference to federal employment law.

13   See Gammoh v. City of La Habra, 395 F.3d 1114, 1120 (9th Cir. 2005) (“[O]therwise imprecise

14   terms may avoid vagueness problems when used in combination with terms that provide sufficient

15   clarity.”). This narrowing construction offers enough specificity to put a member of the University

16   community of reasonable intelligence on notice of the conduct the Order prohibits. See, e.g.,

17   Arce, 793 F.3d at 988 (statute prohibiting coursework promoting resentment toward a race or class

18   of people not void for vagueness “[f]or many of the same reasons” it was not overbroad). Reges’s

19   contrary authorities lack comparable textual guidance on what the regulations at issue in those cases
20   proscribed. See, e.g., Foti v. City of Menlo Park, 146 F.3d 629, 638–39 (9th Cir. 1998) (invalidating

21   “odd” law banning signs on parked cars depending on subjective intent of driver that invited

22   arbitrary enforcement); United States v. Wunsch, 84 F.3d 1110, 1119–20 (9th Cir. 1996) (noting

23   that California courts had never applied a narrowing construction to law challenged for vagueness).

24          Reges is also wrong to claim that the Order invites arbitrary enforcement. A civil law is

25   void for vagueness only if its terms are “so vague and indefinite as really to be no rule or standard

26   at all” or if it is “substantially incomprehensible.” Ford Motor Co. v. Tex. Dep’t of Transp., 264

27   F.3d 493, 507 (5th Cir. 2001) (citation omitted). But the Order, by its terms, must be interpreted

28   “in the context of academic freedom in the University environment.” Exec. Order 31 § 5(A). Far
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 1   from being an incomprehensible standard, that qualification—alongside the definitions and context

 2   showing the Order’s limited scope—erects guardrails around arbitrary enforcement.

 3          Finally, Reges fails to discuss the authorities that Defendants’ motion collects showing that

 4   courts, including in a recent Ninth Circuit decision, routinely reject vagueness challenges under

 5   circumstances like these. Compare Mot. at 22–23, 24, with Opp. at 23–24. Those cases highlight

 6   the regularity with which courts uphold provisions no more precise than those in the Order. The

 7   same outcome should prevail here.

 8                                        III.   CONCLUSION

 9          For these reasons, the Court should grant Defendants’ motion and dismiss the Complaint
10   with prejudice.

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     DATED this 23rd day of December, 2022.
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